      Case 4:16-cv-01414 Document 672 Filed on 10/21/19 in TXSD Page 1 of 2




                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

MARANDA LYNN ODONNELL, et
al.

        Plaintiffs
                                             CIVIL ACTION NO. 4:16-CV-1414
vs.

HARRIS COUNTY, TEXAS, et al.,

        Defendants.


                            Notice of Intent to Appear


To the Chief United States District Judge:

       NOTICE IS HEREBY GIVEN that the Houston Police Officers’ Union
requests to appear and make a statement in open court, on the record, at the
October 28, 2019 hearing. Mary Nan Huffman will be making the statement on
behalf of the Houston Police Officers’ Union.

                                  Respectfully submitted,

                                  /s/ Robert A. Armbruster
                                  Robert A. Armbruster, Staff Counsel
                                  State Bar No. 00786451, Federal I.D. No. 16645
                                  Houston Police Officers’ Union
                                  1600 State Street, Suite 200
                                  Houston, Texas 77007
                                  832-200-3420, fax 832-200-3420
                                  rarmbruster@hpou.org


                                         1
    Case 4:16-cv-01414 Document 672 Filed on 10/21/19 in TXSD Page 2 of 2




                               Certificate of Service

      I certify that on October 21, 2019, a true and correct copy of this Notice of
Intent to Appear was served by electronic notice to all parties of record.



                                       /s/ Robert A. Armbruster
                                       Robert A. Armbruster




                                          2
